Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 1 of 22 PageID #: 434



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



  KIPB LLC,

              Plaintiff,

       v.                                             Case No. 2:19-cv-00056-JRG-RSP

  SAMSUNG ELECTRONICS CO., LTD.;                       JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS AMERICA, INC.;
  SAMSUNG SEMICONDUCTOR, INC.;
  SAMSUNG AUSTIN SEMICONDUCTOR, LLC;
  AND QUALCOMM GLOBAL TRADING PTE.
  LTD.,

              Defendants.




               QUALCOMM’S MOTION TO DISMISS THE COMPLAINT
              UNDER FED. R. CIV. P. 12(B)(2) AND FED. R. CIV. P. 12(B)(6)
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 2 of 22 PageID #: 435
                                                   TABLE OF CONTENTS

                                                                                                                                    Page

  I.     INTRODUCTION .................................................................................................................. 1

  II.    FACTUAL BACKGROUND ................................................................................................. 3

  III. ARGUMENT .......................................................................................................................... 5

            A.         Plaintiff’s Direct Infringement Claims Should Be Dismissed ................................ 5

            B.         Plaintiff’s Indirect Infringement Claims Should Be Dismissed ............................. 7

            C.         Plaintiff’s Willful Infringement Claims Should Be Dismissed .............................. 9

            D.         Plaintiff’s Unsupported Request For Injunctive Relief Should Be Stricken ........ 10

            E.         Plaintiff’s Complaint Should Be Dismissed for Lack of Personal Jurisdiction .... 11

  IV. CONCLUSION ..................................................................................................................... 15




                                                                     -i-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 3 of 22 PageID #: 436
                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)
  Cases

  ACCO Brands, Inc. v. ABA Locks Mfrs. Co.,
    501 F.3d 1307 (Fed. Cir. 2007)..................................................................................................8

  Addiction & Detoxification Inst. L.L.C. v. Carpenter,
     620 F. App’x 934 (Fed. Cir. 2015) ............................................................................................9

  Akro Corp. v. Luker,
     45 F.3d 1541 (Fed. Cir. 1995)..................................................................................................11

  Am. Type Culture Collection, Inc. v. Coleman,
     83 S.W.3d 801 (Tex. 2002)......................................................................................................12

  Apple Inc. v. Samsung Elecs. Co.,
     735 F.3d 1352 (Fed. Cir. 2013)................................................................................................11

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) .........................................................................................................1, 7, 11

  AstraZeneca Pharms. LP v. Apotex Corp.,
      669 F.3d 1370 (Fed. Cir. 2012)..................................................................................................3

  Bell Atl. Corp. v. Twombly,
      550 U.S. 544 (2007) ...................................................................................................................7

  Bianco v. Globus Med., Inc.,
     No. 2:12-cv-147, 2012 U.S. Dist. LEXIS 163022 (E.D. Tex. Nov. 14, 2012) ........................11

  Burger King Corp. v. Rudzewicz,
     471 U.S. 462 (1985) ...........................................................................................................13, 14

  Cannon Mfg. Co. v. Cudahy Packing Co.,
     267 U.S. 333 (1925) .................................................................................................................14

  Cognitronics Imaging Sys., Inc. v. Recognition Research Inc.,
     83 F. Supp. 2d 689 (E.D. Va. 2000) ........................................................................................15

  eBay Inc. v. MercExchange, L.L.C.,
     547 U.S. 388 (2006) .................................................................................................................11

  Endress & Hauser, Inc. v. Hawk Measurement Sys. Pty. Ltd.,
     892 F. Supp. 1123 (S.D. Ind. 1995) ...........................................................................................9

  Eolas Techs., Inc. v. Adobe Sys.,
     No. 6:09-CV-446, 2010 U.S. Dist. LEXIS 58291 (E.D. Tex. May 6, 2010) .............................9
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 4 of 22 PageID #: 437
                                                   TABLE OF AUTHORITIES
                                                          (Continued)

                                                                                                                                       Page(s)

  Fujitsu Ltd. v. Netgear Inc.,
     620 F.3d 1321 (Fed. Cir. 2010)..................................................................................................8

  Hanson v. Denckla,
     357 U.S. 235 (1958) .................................................................................................................13

  Helicopteros Nacionales de Colombia, S.A. v. Hall,
     466 U.S. 408 (1984) .................................................................................................................12

  Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
     485 F.3d 450 (9th Cir. 2007) ...................................................................................................14

  Huawei Techs. Co. v. T-Mobile US, Inc.,
     No. 2:16-CV-0052-JRG-RSP, 2017 U.S. Dist. LEXIS 43240 (E.D. Tex. Feb.
     20, 2017) ..................................................................................................................................10

  Int’l Shoe Co. v. Washington,
      326 U.S. 310 (1945) ...........................................................................................................12, 14

  KAIST IP US LLC v. Samsung Elecs. Co.,
     No. 2:16-CV-01314-JRG-RSP (E.D. Tex. filed Nov. 29, 2016) ...............................................3

  LSI Indus. Inc. v. Hubbell Lighting, Inc.,
     232 F.3d 1369 (Fed. Cir. 2000)................................................................................................12

  McDowell v. United States,
    No. 12-1302, 2013 U.S. Dist. LEXIS 66682 (D. Del. May 10, 2013).......................................3

  Nuance Commc’ns, Inc. v. Abbyy Software House,
     626 F.3d 1222 (Fed. Cir. 2010)................................................................................................13

  Perlman v. Great States Life Ins. Co.,
     436 P.2d 124 (Colo. 1968) .......................................................................................................14

  Pieczenik v. Dyax Corp.,
     265 F.3d 1329 (Fed. Cir. 2001)................................................................................................11

  ReefEdge Networks, LLC v. Juniper Networks, Inc.,
     29 F. Supp. 3d 455 (D. Del. 2014) .......................................................................................8, 10

  Reynolds & Reynolds Holdings, Inc. v. Data Supplies, Inc.,
     301 F. Supp. 2d 545 (E.D. Va. 2004) ......................................................................................12

  Semiconductor Energy Lab. Co. v. Chi Mei Optoelectronics Corp.,
     531 F. Supp. 2d 1084 (N.D. Cal. 2007) .....................................................................................8



                                                                       -iii-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 5 of 22 PageID #: 438
                                                     TABLE OF AUTHORITIES
                                                            (Continued)

                                                                                                                                            Page(s)

  Silent Drive, Inc. v. Strong Indus., Inc.,
      326 F.3d 1194 (Fed. Cir. 2003)................................................................................................12

  Superior Indus., LLC v. Thor Glob. Enters. Ltd.,
     700 F.3d 1287 (Fed. Cir. 2012)..................................................................................................7

  U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc.,
     No. 6:12-cv-366, 2013 U.S. Dist. LEXIS 187806 (E.D. Tex. Feb. 7, 2013) .............................9

  Other Authorities

  Fed. R. Civ. P.
     8..................................................................................................................................................7
     12(b)(6) ......................................................................................................................................5
     12(b)(2) ....................................................................................................................................11
     12(f)..........................................................................................................................................10




                                                                          -iv-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 6 of 22 PageID #: 439



  I.     INTRODUCTION

         Defendant Qualcomm Global Trading Pte. Ltd. (“QGT”) moves to dismiss Plaintiff KIPB

  LLC (“KIPB”)’s Complaint for patent infringement (“Complaint”) for failure to state claims for

  direct infringement, indirect infringement and willful infringement and for lack of personal

  jurisdiction. Plaintiff’s decision to accuse only Singaporean company QGT in this case is

  apparently strategic, in light of Plaintiff’s prior lawsuit asserting the same patent-in-suit against

  QGT’s parent company, San Diego-based Qualcomm Inc. But conspicuously absent from the

  Complaint are any factual allegations showing how QGT infringes any patent, directly, indirectly

  or willfully in the United States. QGT’s motion should be granted for the following reasons.

         First, Plaintiff’s Complaint fails to plead any fact to state a claim for direct infringement.

  Plaintiff’s Complaint fails on its face to plead any allegation that QGT makes, uses, sells or

  offers to sell any accused product in the United States. Instead, Plaintiff’s Complaint contains

  allegations about Qualcomm’s commercialization of the accused technology that quote from

  press releases published on Qualcomm’s corporate website. However, the quoted press releases

  describe the activities of entirely different U.S.-based Qualcomm subsidiaries, with no mention

  or suggestion of QGT. Plaintiff has no factual basis to point to these press releases about other

  Qualcomm subsidiaries as evidence of acts committed by QGT. Plaintiff has pled no fact to tie

  Singaporean-based QGT to these U.S.-based Qualcomm subsidiaries nor any theory to explain

  why QGT should be imputed liability of the allegedly infringing acts of these other entities.

         Second, Plaintiff’s Complaint fails to plead any fact to state a plausible claim for indirect

  infringement. Plaintiff pleads general accusations based on the legal requirements of indirect

  infringement. However, such “bare bones” allegations are insufficient to survive a motion to

  dismiss. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]he pleading standard . . . does not




                                                  -1-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 7 of 22 PageID #: 440



  require ‘detailed factual allegations,’ but it demands more than an unadorned, the-defendant-

  unlawfully-harmed-me accusation.”) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

  (2007)). Further, Plaintiff’s Complaint conflates QGT with other entities by improperly referring

  to Qualcomm Inc.’s notice and knowledge of the asserted patent from the prior lawsuit as

  evidence of QGT’s notice and knowledge. Plaintiff’s Complaint pleads no fact or theory to

  support the imputation of such knowledge from Qualcomm Inc. to QGT. Plaintiff’s Complaint is

  otherwise utterly silent with respect to contributory and induced infringement by QGT.

          Third, Plaintiff’s Complaint fails to plead a claim for willful infringement. In addition to

  insufficient allegations of QGT’s knowledge, the Complaint is entirely devoid of any factual

  allegation of malicious, flagrant, or other pirate-like behavior by QGT, as required for willful

  infringement.

          Fourth, Plaintiff requests the extraordinary relief of an injunction without pleading a

  single fact in support. Plaintiff’s unsupported request for an injunction should also be stricken.

          Finally, Plaintiff has failed to meet its burden of establishing personal jurisdiction.

  Plaintiff’s allegation that QGT is registered with the Secretary of State in Texas is untrue, and

  personal jurisdiction is not conferred by any in-state activities of a subsidiary. Plaintiff has failed

  to establish that QGT has continuous and systematic contacts in Texas, that QGT has

  purposefully directed activities in this state, or that such activities give rise to Plaintiff’s claims.

  Adjudicating this action in this forum is inconsistent with fair play and justice as it would only

  serve Plaintiff’s tactical decision to name a single foreign Qualcomm entity in this lawsuit but

  would be disproportionately burdensome to Singaporean-based QGT, and would not be of any

  more interest to residents of this state than to those of any other state.

          QGT respectfully requests that the Court grant this motion.




                                                   -2-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 8 of 22 PageID #: 441



  II.        FACTUAL BACKGROUND

             Defendant QGT is an indirect, wholly-owned subsidiary of Qualcomm Inc.              See

  Complaint at ¶ 7; QGT’s Rule 7.1 Statement filed concurrently herewith; Ex. 1-2.1 2 QGT is

  organized under the laws of Singapore and has its principal place of business at 6 Serangoon

  North Avenue 5, #04-02, Singapore, 554910, Singapore. See Complaint at ¶ 6; Ex. 1-3. Plaintiff

  previously tried a patent infringement lawsuit asserting U.S. Patent No. 6,885,055 (the “ʼ055

  Patent”) against QGT’s parent entity Qualcomm Inc. See KAIST IP US LLC v. Samsung Elecs.

  Co., No. 2:16-CV-01314-JRG-RSP (E.D. Tex. filed Nov. 29, 2016).

             Plaintiff’s Complaint accuses Qualcomm’s Snapdragon 835, Snapdragon 845, and

  Centriq 2400 line of processors. See Complaint at ¶ 65.

             Plaintiff’s Complaint alleges that “each Defendant has sufficient minimum contacts with

  the forum as a result of business conducted within the State of Texas and the Eastern District of

  Texas, and Defendants are registered with the Secretary of State to do business in the State of

  Texas.” Id. at ¶ 12. The Complaint also alleges that personal jurisdiction exists because each

  Defendant “directly or through subsidiaries or intermediaries, makes, uses, sells, offers for sale,

  imports, advertises, makes available, and/or markets products within the State of Texas and the

  Eastern District of Texas that infringe one or more claims of patent asserted in this Complaint . .

  . .” Id.



  1
    All exhibits are to the Declaration of Allan M. Soobert, filed concurrently herewith.
  2
    A Court is entitled to consider documents outside the pleadings that are “integral to or
  explicitly relied upon . . .” in a Complaint when evaluating motions to dismiss. AstraZeneca
  Pharms. LP v. Apotex Corp., 669 F.3d 1370, 1378 (Fed. Cir. 2012) (holding that it was
  appropriate for the district court to have considered appellees’ ANDA and FDA filings, Section
  viii statements, and proposed labeling, in considering their motion to dismiss). See also
  McDowell v. United States, No. 12-1302, 2013 U.S. Dist. LEXIS 66682 (D. Del. May 10, 2013)
  (granting motion to dismiss for lack of standing based on the USPTO’s public assignment
  records where the plaintiff failed to show that ownership rights had been transferred).


                                                  -3-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 9 of 22 PageID #: 442



         The Complaint also alleges that “Defendants have committed and continue to commit

  acts of direct infringement by making, using, selling, offering to sell, and/or importing Accused

  Instrumentalities, including but not limited to the accused FinFET Technology, Chips, and

  Products.” Id. at ¶ 67. The Complaint also alleges that “Defendants have actual notice of the

  ʼ055 Patent and their infringing activities relating to the ʼ055 Patent no later than the November

  2016 filing of the 1314 Case.” Id. at ¶ 70.

         The Complaint also alleges that “Defendants have induced and continue to induce

  through affirmative acts each other, their customers, and other third parties, such as fab-less

  designers of FinFET Chips and end-consumers of FinFET Products, to directly infringe the ʼ055

  Patent by making, using, selling, and/or importing the Accused Instrumentalities.” Id. at ¶ 72.

  The Complaint also generally alleges that “Defendants knew that the induced conduct would

  constitute infringement, and intended that infringement at the time of committing the

  aforementioned acts, such that the acts and conduct have been and continue to be committed with

  the specific intent to induce infringement, or deliberately avoiding learning of the infringing

  circumstances at the time of committing these acts so as to be willfully blind to the infringement

  that was induced.” Id. at ¶ 74.

         The Complaint also alleges that “Defendants have contributed and continue to contribute

  to the direct infringement of the ʼ055 Patent by each other, their customers, and other third

  parties.” Id. at ¶ 75. It also generally alleges that “Defendants knew of or were willfully blind to

  the specialized and non-commodity nature of the infringing semiconductor devices and/or

  processor chips, and the lack of substantial noninfringing uses.” Id. at ¶ 78.

         The Complaint also alleges that “Defendants have failed to take adequate steps to

  determine whether or not they were infringing or would infringe the ʼ055 Patent, despite having




                                                  -4-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 10 of 22 PageID #: 443



  been on notice of and lacking permission to practice the ʼ055 Patent[,]” and that “[t]herefore,

  Defendants are liable for infringement of the ʼ055 Patent and their infringement has been and

  continues to be willful in nature.” Id. at ¶¶ 79-80.

         The Complaint concludes with a Request for Relief that seeks among other things,

  ongoing royalties, a finding of an exceptional case, and an injunction.

  III.   ARGUMENT

         A.      Plaintiff’s Direct Infringement Claims Should Be Dismissed

         Plaintiff’s Complaint should be dismissed under Rule 12(b)(6) because it fails to state a

  claim for direct infringement. Fed. R. Civ. P. 12(b)(6). Plaintiff’s Complaint contains several

  allegations of Qualcomm’s plans to develop and sell the accused FinFET technology, and quote

  from press releases published on Qualcomm’s corporate website. For example, the following

  allegations in the Complaint are found at the following pages on Qualcomm’s corporate website:

                    Complaint                                  Qualcomm’s Website
  “According to Qualcomm, ‘[u]sing the new          The exact quote in this paragraph is found at
  10nm process node is expected to allow our        https://www.qualcomm.com/
  premium tier Snapdragon 835 processor to          news/releases/2016/11/17/qualcomm-and-
  deliver greater power efficiency and increase     samsung-collaborate-10nm-process-
  performance while also allowing us to add a       technology-latest-snapdragon. See Ex. 11.
  number of new capabilities that can improve
  the user experience of tomorrow’s mobile
  devices. . . .’” Complaint at ¶ 44.
  “In December 2016, Qualcomm announced,            The exact quote in this paragraph is found at
  ‘commercial sampling and conducted a live         https://www.qualcomm.com/news/
  demonstration of the world’s first 10nm server    releases/2016/12/07/qualcomm-begins-
  processor. As the first in the Qualcomm           commercial-sampling-worlds-first-10nm-
  Centriq™ product family, the Qualcomm             server-processor-and. See Ex. 12.
  Centriq 2400 series has up to 48-cores and is
  built on the most advanced 10nm FinFET
  process technology.’” Complaint at ¶ 45.
  “In November 2017, Qualcomm announced             The allegation in this paragraph paraphrases
  that it had ‘started to ship its 10nm Centriq     content at https://www.qualcomm.com/news/
  2400 server processors in commercial              releases/2017/11/08/qualcomm-datacenter-
  quantities. . . .’” Complaint at ¶ 53.            technologies-announces-commercial-
                                                    shipment-qualcomm#_ftn1. See Ex. 13.


                                                  -5-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 11 of 22 PageID #: 444



  “According to Qualcomm, the 48-core Centriq   The allegation in this paragraph paraphrases
  2460 processor offers 4X better performance   content at https://www.qualcomm.com/news/
  per dollar and 45% better performance per     releases/2017/11/08/qualcomm-datacenter-
  watt.” Complaint at ¶ 54.                     technologies-announces-commercial-
                                                shipment-qualcomm#_ftn1. See Ex. 13.


         Not a single one of these allegations or press releases refers to or suggests the

  involvement of Singaporean entity QGT. Qualcomm’s corporate website states at its footer:

  “References to ‘Qualcomm’ may mean Qualcomm Incorporated, or subsidiaries or business units

  within the Qualcomm corporate structure, as applicable.”    See https://www.qualcomm.com/

  news/releases/2016/11/17/qualcomm-and-samsung-collaborate-10nm-process-technology-latest-

  snapdragon. See Ex. 11. However, each of these press releases specifically describes the

  announcement and developments of a different subsidiary and presents no confusion as to which

  Qualcomm entity is intended by any general mention of “Qualcomm.”

         For example, the first of the above allegations (Complaint at ¶ 44) refers to a

  collaboration between Samsung Electronics Co., Inc. and Qualcomm Inc.’s subsidiary

  Qualcomm Technologies, Inc. In fact, the specific portion of the press release cited by the

  Complaint directly quotes Keith Kressin, senior vice president of product management at

  Qualcomm Technologies, Inc.        See https://www.qualcomm.com/news/releases/2016/11/17/

  qualcomm-and-samsung-collaborate-10nm-process-technology-latest-snapdragon.      See Ex. 11.

  Qualcomm Technologies, Inc. is a U.S. company that, like its parent entity Qualcomm Inc., is

  based in San Diego. See Ex. 4-7. There is no mention of QGT in this press release or any

  suggestion of its involvement whatsoever.

         The second of the above allegations (Complaint at ¶ 45) quotes an announcement from a

  different subsidiary of Qualcomm Inc., Qualcomm Datacenter Technologies, Inc., on its

  commercial sampling of a 10 nm processor. See https://www.qualcomm.com/news/releases/



                                              -6-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 12 of 22 PageID #: 445



  2016/12/07/qualcomm-begins-commercial-sampling-worlds-first-10nm-server-processor-and.

  See Ex. 12. Qualcomm Datacenter Technologies, Inc. is also a U.S. company based in San

  Diego, like Qualcomm Inc. and Qualcomm Technologies, Inc. See Ex. 8-9. Likewise, there is

  no mention of QGT or any suggestion of its involvement in this announcement.

          The third of the above allegations (Complaint at ¶ 53) quotes indirectly from an

  announcement by Qualcomm Datacenter Technologies, Inc. on the commercial shipment of its

  10 nm server processor series. See Ex. 12. The fourth of the above allegations (Complaint at

  ¶ 54) relies on this same announcement. Again, there is no mention of QGT or any suggestion of

  its involvement in this announcement by a different Qualcomm subsidiary.

          Plaintiff’s Complaint fails on its face to plead any factual allegations of direct

  infringement by QGT. Plaintiff has no basis to impute the announcements and actions of three

  entirely different San Diego-based Qualcomm entities to Singaporean entity QGT. Plaintiff has

  not alleged any other fact in support of its claim that QGT has made, used, sold, or offered to sell

  the accused Qualcomm products in the United States. Neither has Plaintiff alleged any fact or

  theory of vicarious liability, agency or alter ego to suggest that QGT should be held liable for the

  actions of its U.S. parent or other U.S. Qualcomm subsidiaries. Without any allegations directed

  to liability by QGT, the only named Qualcomm defendant in this action, Plaintiff’s Complaint

  fails to state a claim for direct infringement.

          B.      Plaintiff’s Indirect Infringement Claims Should Be Dismissed

          For the same reasons that the Complaint is utterly silent with respect to any acts by QGT,

  Plaintiff’s Complaint also fails to state a claim of indirect infringement. Allegations of indirect

  infringement must comply with the stricter pleading requirements of Iqbal and Twombly under

  Federal Rule of Civil Procedure 8. See Superior Indus., LLC v. Thor Glob. Enters. Ltd., 700




                                                    -7-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 13 of 22 PageID #: 446



  F.3d 1287, 1295 (Fed. Cir. 2012); Iqbal, 556 U.S. 662; Bell Atl. Corp., 550 U.S. 544.

         To establish a claim for contributory infringement, the patent owner must show: “(1) that

  there is direct infringement, (2) that the accused infringer had knowledge of the patent, (3) that

  the component has no substantial noninfringing uses, and (4) that the component is a material

  part of the invention.” Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010).

         To prevail on an inducement claim, a plaintiff must establish “first that there has been

  direct infringement, and second that the alleged infringer knowingly induced infringement and

  possessed specific intent to encourage another’s infringement.” ACCO Brands, Inc. v. ABA

  Locks Mfrs. Co., 501 F.3d 1307, 1312 (Fed. Cir. 2007). Specific intent requires a showing that

  the alleged infringer “knew or should have known his actions would induce actual

  infringements.” Id. (citing DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006)).

         Plaintiff’s Complaint does not adequately plead facts showing that QGT had knowledge

  of the patent, as required for indirect infringement.       The Complaint merely alleges that

  “Defendants have actual notice of the ʼ055 Patent and their infringing activities relating to the

  ʼ055 Patent no later than the November 2016 filing of the 1314 Case.” Complaint at ¶ 70.

  However, Plaintiff again conflates QGT with its parent company Qualcomm Inc., which was the

  entity that was sued in the prior 1314 Case. Without more, knowledge cannot be imputed from a

  company to its subsidiaries. See, e.g., ReefEdge Networks, LLC v. Juniper Networks, Inc., 29 F.

  Supp. 3d 455, 459-460 (D. Del. 2014) (dismissing pre-suit inducement claims where Plaintiff

  had alleged that Defendant’s Intellectual Property VP had learned of patents at previous

  employer, and even if her “pre-suit knowledge of the patents-in-suit can be imputed to

  [Defendant], the FAC does not allege any facts showing that [the employee] had any knowledge

  of the accused products”); Semiconductor Energy Lab. Co. v. Chi Mei Optoelectronics Corp.,




                                                 -8-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 14 of 22 PageID #: 447



  531 F. Supp. 2d 1084, 1114–15 (N.D. Cal. 2007) (“Apart from general allegations regarding

  ownership interests, [Plaintiff] has offered no evidence that would support imputing knowledge

  from [Defendant] to its subsidiaries.”); Endress & Hauser, Inc. v. Hawk Measurement Sys. Pty.

  Ltd., 892 F. Supp. 1123, 1129 (S.D. Ind. 1995) (calculating damages from date of complaint

  against subsidiary defendant, instead of from date of notice to defendant’s parent because

  “[k]nowledge of the March 14, 1990, infringement letter to Hawk Australia cannot be imputed to

  Hawk America, because actual notice in the form of a letter or another form of communication

  must be given to each infringer.”).

         Further, the Complaint does not include a single factual allegation that, for example: (1)

  (3) there are no substantial non-infringing uses of any component sold, offered or imported in the

  United States by QGT, as required for contributory infringement claims; (2) QGT had actively

  encouraged infringement by another, as required for induced infringement claims; and/or (3)

  QGT possessed the requisite specific intent for induced infringement claims.

         Without a single factual allegation directed at QGT in support of its claims for indirect

  infringement, Plaintiff’s Complaint fails to allege a plausible claim for relief. See e.g., Addiction

  & Detoxification Inst. L.L.C. v. Carpenter, 620 F. App’x 934 (Fed. Cir. 2015) (granting motion

  to dismiss indirect infringement claims where Complaint contained no allegations regarding

  intent or specific acts caused by Defendant); U.S. Ethernet Innovations, LLC v. Cirrus Logic,

  Inc., No. 6:12-cv-366, 2013 U.S. Dist. LEXIS 187806, at *9–13 (E.D. Tex. Feb. 7, 2013); Eolas

  Techs., Inc. v. Adobe Sys., No. 6:09-CV-446, 2010 U.S. Dist. LEXIS 58291, at *15–16 (E.D.

  Tex. May 6, 2010).

         C.      Plaintiff’s Willful Infringement Claims Should Be Dismissed

         Plaintiff’s Complaint fails to plead facts stating a claim for willful infringement. A claim




                                                  -9-
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 15 of 22 PageID #: 448



  for willful infringement requires “culpable infringement behavior, characterized as ‘willful,

  wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—

  characteristic of a pirate.’” Huawei Techs. Co. v. T-Mobile US, Inc., No. 2:16-CV-0052-JRG-

  RSP, 2017 U.S. Dist. LEXIS 43240, at *23-24 (E.D. Tex. Feb. 20, 2017) (citing Halo Elecs., Inc.

  v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1934, 195 L. Ed. 2d 278 (2016)). As explained above,

  Plaintiff’s Complaint fails to adequately plead that QGT had any knowledge of the ’055 Patent

  before this lawsuit, or that QGT had the intent to encourage infringement or to consciously

  commit any other wrongdoing. See ReefEdge Networks, 29 F. Supp. 3d at 459 (dismissing

  willful infringement claims where Plaintiff had alleged that Defendant’s employee had learned

  about patents at previous employer because Plaintiff “has not pled sufficient facts to successfully

  allege [Defendant]’s pre-suit knowledge of the patents-in-suit or that [Defendant] knowingly

  acted with an objectively high likelihood of infringement.”). Further, Plaintiff’s Complaint does

  not contain a single allegation of wanton, malicious, flagrant or pirate-like behavior by QGT.

  Plaintiff has failed to plausibly state claim of willful infringement and its willfulness

  infringement allegations should accordingly be dismissed.

         D.      Plaintiff’s Unsupported Request For Injunctive Relief Should Be Stricken

         Plaintiff’s request for a judgment of an injunction against QGT is wholly unsupported

  and should be stricken pursuant to Rule 12(f).3 For example, in order to obtain a permanent

  injunction in a patent infringement action, the Supreme Court has made clear that a plaintiff must

  satisfy the following four-factor test:

                 A plaintiff must demonstrate: (1) that it has suffered an irreparable
                 injury; (2) that remedies available at law, such as monetary
                 damages, are inadequate to compensate for that injury; (3) that,


  3
    Fed. R. Civ. P. 12(f) provides, in relevant part, that “[t]he court may strike from a pleading an
  insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”


                                                 - 10 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 16 of 22 PageID #: 449



                  considering the balance of hardships between the plaintiff and
                  defendant, a remedy in equity is warranted; and (4) that the public
                  interest would not be disserved by a permanent injunction.

  eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). The standard for a preliminary

  injunction is essentially the same. See Apple Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1361

  (Fed. Cir. 2013) (citing Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 546 (1987)).

          Plaintiff’s Complaint fails to allege any facts showing that the above standards for

  injunctive relief are met. Instead, Plaintiff generally alleges that it “has been and continues to be

  irreparably harmed by Defendants’ infringement of the ’055 Patent.” See Complaint at ¶ 82.

  Such conclusory allegations should not be accepted as true. See Iqbal, 556 U.S. at 678 (“First,

  the tenet that a court must accept as true all of the allegations contained in a complaint is

  inapplicable to legal conclusions.”).       The Complaint contains no other facts supporting its

  request for injunctive relief. Notably, for example, the Complaint does not allege facts showing

  how a non-practicing entity like Plaintiff—a U.S. subsidiary formed solely for this lawsuit and

  that exists merely as a vehicle to enforce the ’055 Patent—should be entitled to injunctive relief.

  See Bianco v. Globus Med., Inc., No. 2:12-cv-147, 2012 U.S. Dist. LEXIS 163022, at *6–8 (E.D.

  Tex. Nov. 14, 2012) (denying motion for preliminary injunction where plaintiff, a non-practicing

  entity, had not demonstrated how it would suffer irreparable harm). Thus, the Court should

  strike Plaintiff’s request for injunctive relief.

          E.      Plaintiff’s Complaint Should Be Dismissed for Lack of Personal Jurisdiction

          This Court can dismiss a case when it lacks personal jurisdiction over a defendant. Fed.

  R. Civ. P. 12(b)(2). Once a movant challenges a court’s jurisdiction over it, the party asserting

  jurisdiction bears the burden to show the movant has minimum contacts with the forum state to

  support jurisdiction over the movant. Pieczenik v. Dyax Corp., 265 F.3d 1329, 1334 (Fed. Cir.




                                                      - 11 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 17 of 22 PageID #: 450



  2001). If the party asserting jurisdiction makes such a showing, the movant bears the burden to

  prove the exercise of jurisdiction would be constitutionally unreasonable. Akro Corp. v. Luker,

  45 F.3d 1541, 1546 (Fed. Cir. 1995).

         Personal jurisdiction intimately relates to patent law, and Federal Circuit law governs the

  issue here. Silent Drive, Inc. v. Strong Indus., Inc., 326 F.3d 1194, 1201 (Fed. Cir. 2003). A

  court can exercise personal jurisdiction over an out-of-state defendant if the forum state’s long-

  arm statute permits jurisdiction without violating federal due process. See Int’l Shoe Co. v.

  Washington, 326 U.S. 310 (1945); LSI Indus. Inc. v. Hubbell Lighting, Inc., 232 F.3d 1369, 1371

  (Fed. Cir. 2000). “The Texas long-arm statute reaches ‘as far as the federal constitutional

  requirements of due process will allow.’” Am. Type Culture Collection, Inc. v. Coleman, 83

  S.W.3d 801, 806 (Tex. 2002). Thus, the analysis of Texas’s long-arm statute collapses into the

  due-process inquiry. Due process requires an out-of-state defendant to have minimum contacts

  with a forum such that maintaining suit does not offend traditional notions of fair play and

  substantial justice. Int’l Shoe, 326 U.S. at 316. The minimum contacts requirement may be met

  by a plaintiff’s showing of “general” or “specific” jurisdiction over a defendant. Helicopteros

  Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984).

         Plaintiff has failed to establish “general” jurisdiction over QGT. General jurisdiction

  exists when a defendant’s contacts with the forum state are “continuous and systematic.” Id. at

  414-16. Further, “the standard for imposing general jurisdiction is high.” Reynolds & Reynolds

  Holdings, Inc. v. Data Supplies, Inc., 301 F. Supp. 2d 545, 550 (E.D. Va. 2004). Plaintiff does

  not even attempt to meet this “high” standard of establishing general jurisdiction, as there is no

  allegation in the Complaint or any other evidence provided to establish that QGT—apart from

  other Qualcomm entities—has “continuous and systematic” contacts in this state.




                                                - 12 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 18 of 22 PageID #: 451



          Plaintiff has also failed to establish “specific” jurisdiction over QGT. The Federal Circuit

  applies a three-prong test for specific jurisdiction by determining: (1) whether the defendant

  purposefully directed activities at residents of the forum; (2) whether the claim arises out of or

  relates to those activities; and (3) whether assertion of personal jurisdiction is reasonable and

  fair. Nuance Commc’ns, Inc. v. Abbyy Software House, 626 F.3d 1222, 1231 (Fed. Cir. 2010)

  (citations omitted).

          To satisfy the first prong, “it is essential in each case that there be some act by which the

  defendant purposefully avails itself of the privilege of conducting activities within the forum

  State, thus invoking the benefits and protections of its laws.” Hanson v. Denckla, 357 U.S. 235,

  253 (1958). “This ‘purposeful availment’ requirement ensures that a defendant will not be haled

  into a jurisdiction solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts or of the

  ‘unilateral activity of another party or a third person.’” Burger King Corp. v. Rudzewicz, 471

  U.S. 462, 475 (1985) (citations omitted).        Plaintiff has failed to establish that QGT has

  purposefully availed itself of the privilege of conducting any activities in Texas.

          For example, Plaintiff alleges that “Defendants are registered with the Secretary of State

  to do business in the State of Texas,” Complaint at ¶ 12—but that is not true for QGT. See Ex.

  10, Soobert Decl. at ¶ 12. And, as explained above, Plaintiff’s complaint is entirely devoid of

  any factual allegations of infringing acts by QGT anywhere in the United States—no less

  intentionally and specifically in Texas. As such, Plaintiff has failed to establish that QGT

  purposefully directed activities to residents of this state, or that there is any controversy arising

  out of or relating to those activities.

          Instead, Plaintiff improperly attributes the acts of Qualcomm’s other U.S.-based

  subsidiaries to QGT. See supra at 6-7. Plaintiff also alleges that personal jurisdiction exists




                                                 - 13 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 19 of 22 PageID #: 452



  because each Defendant “through subsidiaries or intermediaries, makes, uses, sells, offers for

  sale, imports, advertises, makes available, and/or markets products within the State of Texas and

  the Eastern District of Texas . . .” Id. But the law does not support Plaintiff’s claim that

  personal jurisdiction exists as a result of the actions of QGT’s “subsidiaries or intermediaries.”

  See, e.g., Cannon Mfg. Co. v. Cudahy Packing Co., 267 U.S. 333 (1925); Holland Am. Line Inc.

  v. Wartsila N. Am., Inc., 485 F.3d 450, 459 (9th Cir. 2007) (“To the extent that [plaintiff] seeks

  to impute the activities of [a subsidiary] to [defendant], this argument has little traction. It is

  well established that, as a general rule, where a parent and a subsidiary are separate and distinct

  corporate entities, the presence of one . . . in a forum state may not be attributed to the other . . .

  .”); Perlman v. Great States Life Ins. Co., 436 P.2d 124, 125 (Colo. 1968) (“where the parent and

  its subsidiary maintain separate identities and charge each other for services performed, as is

  apparent here, the corporations will be treated as separate entities for the purpose of determining

  personal jurisdiction.”). Other than these unsupported, bare allegations, Plaintiff has presented

  no basis for imputing the contacts of any other Qualcomm subsidiary to QGT.

         Finally, the Court lacks personal jurisdiction because hearing this case would offend

  “traditional notions of fair play and substantial justice[,]” Int’l Shoe, 326 U.S. at 316, which

  require the exercise of personal jurisdiction to be reasonable, Burger King, 471 U.S. at 477.

  First, Plaintiff’s decision to only accuse a foreign Qualcomm entity with minimal, if any,

  connection to the claims in this action serves its strategic considerations, but poses

  disproportionate burden to QGT. It is undisputed that QGT resides in Singapore. See Complaint

  at ¶ 6; Ex. 1-3. It would be unduly burdensome for QGT’s witnesses to travel from Singapore to

  defend this action solely because Plaintiff wishes to litigate in this forum. Second, this Court

  does not have an interest in this dispute that is proportionately higher than courts in any other




                                                  - 14 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 20 of 22 PageID #: 453



  forum. While some of this district’s residents have presumably purchased and used the accused

  products, no evidence exists to show that residents of this district use or purchase those products

  more than the residents of any other district. The Court “cannot stand as a willing repository for

  cases which have no real nexus to th[e] district.” Cognitronics Imaging Sys., Inc. v. Recognition

  Research Inc., 83 F. Supp. 2d 689, 699 (E.D. Va. 2000). While this Court may want to hear this

  action against QGT with the Samsung defendants for reasons of judicial efficiency, the mere

  interest in efficiency does not override threshold legal requirements of a lawsuit, including

  personal jurisdiction.

         The Complaint should therefore be dismissed for the additional reason that Plaintiff has

  failed to meet its burden of establishing that personal jurisdiction exists.

  IV.    CONCLUSION

         For at least the foregoing reasons, QGT respectfully requests that the Court: (1) dismiss

  Plaintiff’s claim for direct infringement; (2) dismiss Plaintiff’s claims for indirect infringement;

  (3) dismiss Plaintiff’s willful infringement allegations; (4) strike the Complaint’s request for an

  injunction; and (5) dismiss the Complaint for lack of personal jurisdiction.




                                                  - 15 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 21 of 22 PageID #: 454



  Date: July 31, 2019                   Respectfully submitted,

                                        /s/ Allan M. Soobert

                                        Allan M. Soobert
                                        PAUL HASTINGS LLP
                                        875 15th Street, N.W.
                                        Washington, DC 20005
                                        Telephone: (202) 551-1700
                                        Facsimile: (202) 551-1705
                                        allansoobert@paulhastings.com

                                        Christopher W. Kennerly
                                        Joseph J. Rumpler II
                                        PAUL HASTINGS LLP
                                        1117 S. California Avenue
                                        Palo Alto, CA 94304
                                        Telephone: (650) 320-1800
                                        Facsimile: (650) 320-1900
                                        chriskennerly@paulhastings.com
                                        josephrumpler@paulhastings.com

                                        Soyoung Jung
                                        PAUL HASTINGS LLP
                                        515 South Flower Street, 25th Floor
                                        Los Angeles, CA 90071
                                        Telephone: (213) 683-6000
                                        Facsimile: (213) 627-0705
                                        soyoungjung@paulhastings.com


                                        Attorneys for Defendant Qualcomm Global
                                        Trading Pte. Ltd.




                                      - 16 -
Case 2:19-cv-00056-JRG-RSP Document 39 Filed 07/31/19 Page 22 of 22 PageID #: 455



                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was filed

  electronically in compliance with Local Rule CV-5 on July 31, 2019. As of this date, all counsel

  of record have consented to electronic service and are being served with a copy of this document

  through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by email.


                                                        /s/ Allan M. Soobert




                                               - 17 -
